8:06-cr-00116-RFR-MDN        Doc # 185     Filed: 10/16/06   Page 1 of 1 - Page ID # 760




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )            CASE NO. 8:06CR116
                                             )
               Plaintiff,                    )
                                             )               MEMORANDUM
               vs.                           )                AND ORDER
                                             )
EVEREADA KOURIS,                             )
                                             )
               Defendant.                    )

      This matter is before the Court on the Defendant’s appeal (Filing No. 174) from the

Magistrate Judge’s order of detention (Filing No. 106).

      NECrimR 57.2(a) provides that an appeal from a nondispositive order shall be filed

within ten (10) business days. Magistrate Judge Gossett filed his detention order on

August 23, 2006. The appeal was filed on September 21, 2006. The appeal will be denied

as untimely.

      IT IS ORDERED that the Defendant’s appeal (Filing No. 174) from the Magistrate

Judge’s order of detention (Filing No. 106) is denied.

      DATED this 16th day of October, 2006.

                                                 BY THE COURT:

                                                 s/Laurie Smith Camp
                                                 United States District Judge
